
Upon consideration of the petition filed by State of NC on the 27th of August 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 24th of October 2018."
Upon consideration of the petition for discretionary review, filed by State of NC on the 28th of August 2018 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 24th of October 2018."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this *375Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
